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               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

HECTOR HERNANDEZ, et al.            )
                                    )
      Plaintiffs,                   ) Case No. 18-cv-7647
                                    )
v.                                  ) The Honorable Judge Franklin U. Valderrama
                                    )
WILLIAM HELM, et al.                )
                                    )
      Defendants.                   )
_____________________________________________________________________________

 UNOPPOSED PLAINTIFFS’ FINAL MOTION FOR EXTENSION OF TIME TO FILE
 RESPONSES TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT TO AND
                    INCLUDING JANUARY 8, 2021

       Plaintiffs, Hector Hernandez and Charles Termini, through their undersigned attorney,

Gianna Scatchell, Esq., Law Offices of Gianna Scatchell, makes the following request for an

extension of time up to and including January 8, 2021 to file Responses to Defendants’ Motions

for Summary Judgment for the following reasons:

   1. Plainitff’s Counsel discussed this Motion with Defendants’ Counsel on December 18,

2020 and confirmed that there is no objection.

   2. There have been multiple requests for extension and Plaintiffs apologize for the

additional request, but additional time is needed due to the following reasons.

   3. On or about November 10, 2020, Plaintiff’s Counsel’s mother, father, grandmother, and

       grandfather were all diagnosed with Covid-19 and her grandfather was hospitalized for

       nearly one week with double CoVid-19 pneumonia.

   4. On or about November 21, 2020, Plaintiff’s Counsel was exposed to CoVid-19 and had

       to self-quarantine.

   5. Plaintiff’s Counsel’s office was closed due to a COVID-19 outbreak from November 23,
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2020 through December 7, 2020, which, due to the voluminous documents, summary judgment

binders, deposition transcripts, and exhibits in this case has made responding to these motions

particularly onerous to do remotely.

   6. On return following the office closure, Plaintiff’s Counsel had numerous other tasks

requiring urgent attention, including:

           a. All written discovery, discovery requests, and discovery responses needed to be

               completed in Principe v. Village of Melrose Park, Illinois, 20-cv-1545, containing

               several thousand pages of documents, video recordings, and dozens of production

               requests and interrogatories.

           b. Complaint due in Lake County, Illinois Circuit Court with a potential statute of

               limitations issue in Onofre v. American Marketing Services and Consultants

               requiring investigation and filing as soon as possible.

           c. Subpoenas for depositions needing organization and issuance in Dart v. Denham,

               18 L 010207, Circ. Ct. of Ck. County, Illinois for 15 witnesses, requiring witness

               contacts, confirmations, and setting of depositions by sending notices and

               subpoenas.

           d. Examination of Circuit Court decision for appeal in Scatchell v. Village of

               Melrose Park, Illinois, 2018 CH 16150 for appeal following the December 15,

               2020 Circuit Court ruling.

           e. On top of the foregoing, Plaintiff’s counsel has been winding up her company,

               Run the Call, a court coverage platform that was decimated due to court closures

               as a result of CoVid-19.

           f. On top of the foregoing, Plaintiff’s counsel is required to help perform new client



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                  Intakes for Disparti Law Group, P.A. and service the onboarding or rejection of

                  these potential clients which takes a substantial amount of time.

              g. Plaintiff’s Counsel has a much lighter workload over the next three weeks and

                  will be able to get the Responses completed.

                                            CONCLUSION

For the foregoing reasons, Plaintiffs’ Counsel respectfully requests an extension of time to file

the Responses to Defendants’ Summary Judgment Motions to and including January 8, 2021.

                                                         Dated: December 18, 2020

                                                         /s/ Gianna Scatchell
                                                         ____________________________________
                                                         Gianna Scatchell, Esq.
                                                         Law Offices of Gianna Scatchell, Inc.
                                                         360 West Hubbard Place, #1404
                                                         Chicago, Illinois 60654
                                                         P: (312) 506-5511 ext. 330
                                                         F: (312) 846-6363
                                                         E: gia@dispartilaw.com


                                    CERTIFICATE OF SERVICE

           The undersigned, an attorney, hereby certifies that he served this Plaintiff’s Motion for

Extension of Time to file Response to Summary Judgment Motions to all counsel-of-record via

this Court’s CM/ECF filing system on December 18, 2020, and that such counsels are registered

efilers.


                                                        /s/ Gianna Scatchell
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                                                        Gianna Scatchell




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